      Case: 18-40825    Document: 121-2    Page: 1   Date Filed: 06/18/2019

            IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT

                                _______________

                                 No. 18-40825
                                _______________

ELLIOTT WILLIAMS,
                                                           Plaintiff - Appellant

v.

JEFFREY CATOE, Senior Warden, Coffield Unit; WILLIAM WHEAT, Major
of Security, Coffield Unit; PAMELA PACE, Practice Manager, UTMB,
Coffield Unit; JACINTA ASSAVA, Nurse Practioner, UTMB, Coffield Unit;
JANE AND JOHN DOE; DOCTOR PAUL W. SHRODE; VICKI WHITE,

                                                        Defendants - Appellees



                Appeal from the United States District Court
                     for the Eastern District of Texas


Before STEWART, Chief Judge, JONES, SMITH, DENNIS, OWEN, ELROD,
SOUTHWICK, HAYNES, GRAVES, HIGGINSON, COSTA, WILLETT, HO,
DUNCAN, ENGELHARDT and OLDHAM, Circuit Judges.

BY THE COURT:

      A member of the court having requested a poll on defendants-
appellees’ motion for initial hearing en banc, and a majority of the circuit
judges in regular active service and not disqualified having voted in favor,
      IT IS ORDERED that this cause shall be heard by the court en banc
with argument on a date hereafter to be fixed.
      IT IS FURTHER ORDERED that plaintiff-appellant’s motion for
appointment of counsel is GRANTED.
      IT IS FURTHER ORDERED that plaintiff-appellant’s motion to allow
      Case: 18-40825   Document: 121-2   Page: 2   Date Filed: 06/18/2019

                                No. 18-40825


attachment to brief as supplement is DENIED.
     The Clerk will specify a briefing schedule for the filing of supplemental
briefs when counsel is appointed.
